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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

     Applicant,

                   v.                    Case No. 23-mc-00002 (APM)
COVINGTON & BURLING LLP,

     Respondent.


 AMICUS CURIAE BRIEF OF ASSOCIATION OF CORPORATE COUNSEL
      IN SUPPORT OF RESPONDENT’S BRIEF IN OPPOSITION




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                  CORPORATE DISCLOSURE STATEMENT

       I, the undersigned counsel of record for Association of Corporate Counsel,

certify that to the best of my knowledge and belief, there are no parent companies,

subsidiaries, affiliates, or companies which own at least 10% of the stock of

Association of Corporate Counsel which have any outstanding securities in the hands

of the public.


       These representations are made in order that judges of this Court may

determine the need for recusal.


                            Attorney of Record for Association of Corporate Counsel


                                                            /s/ Kwaku A. Akowuah




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              IDENTITY AND INTEREST OF AMICUS CURIAE 1

      Amicus Curiae Association of Corporate Counsel (“ACC”) is the leading global

bar association that promotes the common professional and business interests of in-

house counsel. ACC has over 40,000 members who are in-house lawyers employed

by over 10,000 corporations, associations, and other organizations in more than 80

countries. Founded as the American Corporate Counsel Association in 1981, ACC

has grown from a small organization of in-house counsel to a worldwide network of

legal professionals, focused on delivering a mix of relevant and timely services,

including information, education, networking opportunities, and advocacy. ACC has

long sought to aid courts, legislatures, regulators, and other law or policy-making

bodies in understanding the role and concerns of in-house counsel and is a frequent

amicus participant in important cases affecting in-house counsel.

      This is one of those cases. The Securities and Exchange Commission’s view of

its administrative subpoena authority would vitiate critical protections for client

secrets and confidences under Rule 1.6 of the D.C. Rules of Professional Conduct and

would seriously degrade the attorney-client privilege. Those protections are integral

to maintaining the lifeblood of the legal profession—unflagging attorney-client trust.

ACC is uniquely interested in this case because its members function both as


1 Pursuant  to Local Civil Rule 7(o)(5) and consistent with Federal Rule of Appellate
Procedure 29(a)(4)(E), ACC states that no counsel for any party authored this brief
in whole or in part; no such counsel or party made a monetary contribution intended
to fund the preparation or submission of this brief; and no person other than amicus
curiae, its members, or its counsel made such a monetary contribution. Pursuant to
Local Civil Rule 7(o)(1), the Court agreed to accept amicus curiae briefs without an
accompanying motion for leave to file.


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attorneys and clients. They are lawyers who rely on such protections when providing

advice and counsel to their internal business clients, and they rely on the same

protections from the client side when they engage outside law firms. A ruling that

the Commission’s administrative subpoena power creates broad and unbounded

exceptions to longstanding attorney-client safeguards would risk acute and ongoing

intrusions into critical interests of ACC and its members.

             INTRODUCTION AND SUMMARY OF ARGUMENT

      Make no mistake: the Commission’s view of its administrative subpoena power

implicates much more than the made-for-litigation narrowing that the Commission

has sued to enforce.

      The Commission starts from a point of dubious investigative interest. It seeks

to justify its invasive subpoena by emphasizing the “significance and importance” of

cybersecurity issues.   Mem. 5.     But, although the Commission has legitimate

cybersecurity responsibilities, the Commission is not a cybersecurity regulator. 2

Instead, when it comes to cybersecurity, the Commission has an ancillary role, which,

as to public companies, is predominantly related to disclosures. It seeks to protect

market integrity against the prospect of insider trading enabled by security breaches,

and to ensure that investors receive material information related to public companies’


2See Commissioner Hester Peirce, Dissenting Statement on Cybersecurity Risk
Management, Strategy, Governance, and Incident Disclosure (Mar. 9, 2022),
https://www.sec.gov/news/statement/peirce-statement-cybersecurity-030922 (“We
have an important role to play in ensuring that investors get the information they
need to understand issuers’ cybersecurity risks if they are material. This proposal,
however, flirts with casting us as the nation’s cybersecurity command center, a role
Congress did not give us.”).



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cybersecurity risks and incidents. 3 The Commission’s stated reasons for pursuing

that ancillary interest through the subpoena to Covington are speculative. The

Commission claims that, if it could compel the disclosure of Covington’s client list, it

could use that information to more easily search for trading irregularities and

disclosure violations. But the Commission specifies no suspicion of any irregularities

or violations of law.    By appearances, the Commission merely intends to use

Covington’s files as an investigative shortcut to fish around. See id. at 3.

      Against that limited investigative interest, the Commission’s subpoena pits

another, more significant one—the long-acknowledged “significance and importance”

of uncompromising trust between attorneys and their clients. It has been aptly said

that “[t]he unique relationship between an attorney and client, founded in principle

upon the elements of trust and confidence on the part of the client and of undivided

loyalty and devotion on the part of the attorney, remains one of the most sensitive

and confidential relationships in our society.” Demov, Morris, Levin & Shein v.

Glantz, 53 N.Y.2d 553, 556 (1981). To protect that relationship, bar rules command

lawyers to shield confidences and secrets, even to the point of requiring lawyers to

litigate in the face of non-consensual efforts to breach the shield. Lawyers and clients,

in turn, count on the courts to help protect the values enshrined in those rules.


3 SEC, Commission Statement and Guidance on Public Company Cybersecurity
Disclosures (Feb. 21, 2018), https://www.sec.gov/rules/interp/2018/33-10459.pdf
(“SEC Guidance”) (“although no existing disclosure requirement explicitly refers to
cybersecurity risks and cyber incidents, companies nonetheless may be obligated to
disclose such risks and incidents”). See also SEC, Proposed Rule: Cybersecurity Risk
Management, Strategy, Governance, and Incident Disclosure (Mar. 9, 2022),
https://www.sec.gov/rules/proposed/2022/33-11038.pdf.



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Indeed, although in certain circumstances a “subpoena to an attorney may be

perfectly proper, the fundamental interests at stake necessitate careful judicial

scrutiny.” In re Pub. Def. Serv., 831 A.2d 890, 900 (D.C. 2003).

      The Commission’s position clashes directly with the understanding that

careful judicial scrutiny is essential when a subpoena is served on a lawyer. The

Commission’s position is that it always wins, so long as the agency can identify an

investigative purpose—however speculative—for its interest in peering into the

lawyer’s files. In advancing that view, the Commission seriously minimizes the

importance of the bar and ethical rules. That is a startling proposition, especially in

light of the dizzying number of agencies that hold administrative subpoena power. It

also accentuates the stakes here. The Commission’s theory of its actual power—and

the power of many other agencies—is much broader than the request on which it has

sued. If the Commission’s first-of-its-kind theory prevailed, there is every reason to

expect that the number of agency subpoenas directed to lawyers and law firms would

quickly multiply.

      Even as limited, however, the Commission’s subpoena poses significant threats

to lawyers and the clients who trust them to guard secrets and confidences. If the

Commission prevails, Covington will be forced to hand over a list of nearly 300 clients

to a regulator that openly plans to target the clients for investigation. Not only that,

but the Commission’s investigation is bound to invade attorney-client confidences

even if it starts with client names: deciding whether clients have violated disclosure

laws is almost certainly going to require an inquiry in what client information was




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breached, because there is no other conceivable way to determine whether the breach

was “material” to a particular company.        Although no one ever wants to find

themselves in the Commission’s crosshairs, it is especially jarring to think that

hundreds of clients may end up in those crosshairs by way of the lawyers from whom

confidential counsel was sought. The Commission is not at liberty to demand such

betrayals, on no basis of suspicion, with no assertion of wrongdoing by any clients,

purely on its own authority. The Court should reject the Commission’s overreach.

                                    ARGUMENT

I.    THE COURT SHOULD NOT ADOPT THE COMMISSION’S SWEEPING
      VIEW OF ADMINISTRATIVE SUBPOENA POWER.

      Rule 1.6 of the D.C. Rules of Professional Conduct has two provisions at issue

here: subsection (a)(1) forbids attorneys from “knowingly … reveal[ing] a confidence

or secret of the lawyer’s client,” and subsection (e)(2)(a) provides an exception, which

allows disclosure when “required by law or court order.” The Commission argues

that, for administrative subpoenas, the “exception” in subsection (e) swallows entirely

the protections in subsection (a). The Court need not and should not adopt that

contention.

      A.      The Commission’s View of Rule 1.6 Is That Administrative
              Subpoenas Provide Agencies With Carte Blanche To Obtain
              Protected Communications and Information.

      The Commission claims that what is at issue here is a “very narrow” and

“extremely limited” subpoena. Mem. 12, 14. The basis for those qualifiers is the

Commission’s decision—for the time being—to litigate “only” its request for client

names. But the Commission elsewhere acknowledges that its narrowed request was



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merely a “negotiation” tactic designed to “avoid the need for this subpoena

enforcement action,” and that the Commission stands behind the supposedly “lawful”

scope of its original (and broader) subpoena. Id. at 5.

      These statements show that there is nothing “very narrow” or “extremely

limited” about the Commission’s actual view of its administrative subpoena power or

the legal theory it asks the Court to endorse. To the contrary, the Commission’s

position is unequivocal: “if issued a subpoena, the recipient must comply

notwithstanding Rule 1.6, absent some other valid objection.” Id. at 13 (emphasis

added); see also Ney Decl., Ex. C (SEC Ltr. to Covington) at 4 (“even absent [client]

consent, … Covington’s continued objection based on the confidentiality prong of Rule

1.6(a) is unlikely to protect the information from disclosure”). Anything goes, so long

as the Commission “in its discretion” deems the investigation “proper.” Mem. 7-8.

      Consider what that means from a practical perspective. More than 20 years

ago, a DOJ study “identified approximately 335 existing administrative subpoena

authorities held by various executive branch entities under current law.” Office of

Legal Policy, U.S. Dep’t of Justice, Report to Congress on the Use of Administrative

Subpoena Authorities by Executive Branch Agencies and Entities, 5 (2002). What is

more, “[m]ost administrative subpoena authorities have been redelegated by the

entity head to subordinate officials within the entity,” and sometimes “the decision to

issue a subpoena is made unilaterally by an agency official.” Id. at 7. Under the

Commission’s theory, every single one of these agencies and unchecked officials would

be able to breach attorney-client protections based on nothing more than the fact that




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the subpoenaing investigators want to force the lawyer to hand over client secrets.

See Mem. 9 (arguing that the scope of subpoena power is “for the investigators to

determine”). After that, lawyers simply “must comply.” Id. at 13.

      That is an alarming prospect for ACC and its members. Corporations are often

regulated by many different agencies. If the Court were to adopt the Commission’s

view of the world, the sprawl of subpoenas implicating protected information would

be vast. Between subpoenas to corporate counsel and subpoenas to law firms from

whom corporate counsel seek advice, ACC’s members could easily face a barrage of

subpoenas from all sides.

      B.     There Is No Reason For the Court to Adopt the Commission’s
             View and Every Reason To Avoid It.

      There is no dispute that an order from this Court would be a “court order”

under Rule 1.6(e) that would compel disclosure. That is what Covington told the

Commission in a white paper that the Commission requested. See Ney Dec., Ex. B,

at 1 (stating that disclosure is not allowed “absent informed client consent or a court

order…”) (emphasis added). Now that the case is in court, therefore, there is no

reason for the Commission to reach out and ask the Court to decide whether an

administrative subpoena independently qualifies as a “law or court order.” The

Commission’s invitation to do so is wrong, dangerous, and has no practical value.

             1.     The Commission’s View Is Wrong.

      To qualify under the Rule 1.6(e)(2)(a) exemption, the protected information

must be required by a law or a court order. An administrative subpoena is neither.




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      As a matter of plain language, an administrative subpoena from an agency

cannot be a “court order” when no court is involved. Indeed, an agency “has a power

of inquisition, if one chooses to call it that, which is not derived from the judicial

function.” United States v. Morton Salt Co., 338 U.S. 632, 642 (1950); see also John

W. Bagby, Administrative Investigations: Preserving a Reasonable Balance between

Agency Powers and Target Rights, 23 Am. Bus. L.J. 319, 319-20 (1985) (“There are

significant differences between the subpoena powers of the court system and those of

the federal administrative agencies.”).

      Nor are administrative subpoenas “laws.” A subpoena may issue pursuant to

an authority granted by statute or law, but that does not make the subpoena itself a

“law.” Unlike laws, “[s]ubpoenas issued by the Commission are not self-enforcing.”

SEC v. Jerry T. O’Brien, Inc., 467 U.S. 735, 741 (1984). By contrast, a disclosure

statute could be a “law” that satisfies section 1.6(e), when the statute is “narrowly

and specifically drawn” and “[c]ivil and criminal penalties are available to enforce its

provisions.” D.C. Bar, Ethics Op. No. 214 (Sept. 18, 1990). 4 None of those attributes

inhere in an administrative subpoena from the Commission.

      The Commission’s cited authorities (Mem. 13-14) do not say otherwise. The

Commission relies on four cases, none of which are binding, much less persuasive.

The only one that involves an SEC administrative subpoena is clearly distinguishable


4Even still, in that case, the D.C. Bar ultimately concluded that, because “substantial
good faith arguments exist[ed]” regarding “whether Congress intended the statute to
override traditional lawyer-client confidentiality,” it was “clear that a firm may not
ethically disclose the name of its client” even in response to the IRS administrative
summons. D.C. Bar, Ethics Op. No. 214.



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because it did not involve a subpoena directed at an attorney and thus did not

implicate the ethics rules that govern the practice of law or the unique and compelling

confidentiality interests that those ethics rules reflect. Selevan v. SEC, 482 F. Supp.

3d 90 (S.D.N.Y. 2020) (SEC subpoena to a bank).

      As Covington points out, the remaining three cases address Rule 45 subpoenas,

and those are not analogous. Covington Br. 17-18. For example, there are procedural

safeguards in a court setting that are not present for an administrative subpoena. Id.

In addition, “[a]dministrative subpoenas are horses of a slightly different color, since

upon noncompliance the issuing agency seeks enforcement in the district court,”

whereas   civil   subpoenas   are   litigated   in   contempt   proceedings   following

noncompliance. United States v. Legal Servs. for N.Y.C., 249 F.3d 1077, 1081 (D.C.

Cir. 2001). In all events, the cases relied upon by the Commission do not fully explain

the bases of their conclusions or are simply inapposite. See In re Motion to Compel

Compliance with Subpoena Directed to Cooke Legal Grp., PLLC, 333 F.R.D. 291, 296

(D.D.C. 2019) (containing one conclusory sentence and failing to explain whether the

court even considered the subpoena a law or court order); FTC v. Trudeau, No. 03 C

3904, 2013 WL 842599, at *4 (N.D. Ill. March 6, 2013) (noting that, consistent with

Covington’s position, the attorneys fulfilled their ethical obligations “by bringing the

matter to this court’s attention and must, if ordered, reveal the information”

(emphasis added)); SEC v. Sassano, 274 F.R.D. 495 (S.D.N.Y. 2011) (applying N.Y.

Rule 1.6, which has been construed to be less protective than D.C.’s rule).

             2.     The Commission’s View Is Dangerous.




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      Precisely because the Commission’s view of its own subpoena power is

unbounded, the existence and scrutiny of judicial oversight are critical. In garden

variety subpoena enforcement cases, the judiciary’s normal and deferential review

makes plenty of sense. Even then, the “deference courts afford agencies does not

eviscerate the independent role which the federal courts play in subpoena

enforcement proceedings” and that role “is neither minor nor ministerial.” CFPB v.

Accrediting Council for Indep. Colls. & Schs., 854 F.3d 683, 689 (D.C. Cir. 2017)

(cleaned up).

      What is happening here, however, is unprecedented—not garden variety—and

the Court’s scrutiny should ratchet up accordingly. As the D.C. Court of Appeals has

explained, “the fundamental interests at stake” with a “subpoena to an attorney”

“necessitate careful judicial scrutiny.” Pub. Def., 831 A.2d at 900. Indeed, “the mere

issuance of the subpoena may undermine the integrity of the attorney-client

relationship.” In re Grand Jury Subpoena to Att’y (Under Seal), 679 F. Supp. 1403,

1411 (N.D. W. Va. 1988). Those heightened interests warrant heightened protection.

      The Commission’s own cases recognize the significance of judicial oversight.

In SEC v. Brigadoon Scotch Distribution Co., for example, the court admonished that

the Commission “is not at liberty to act unreasonably, and in appropriate

circumstances the court may inquire into the reasons for an investigation and into its

effects.” 480 F.2d 1047, 1056 (2d Cir. 1973) (emphasis added).

      Those effects are substantial here. The Commission does not veil its plans for

the information it seeks. The Commission intends to investigate Covington’s clients




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for wrongdoing—despite lacking any particular reason to suspect that these clients

did anything wrong. See Mem. 8 (“the Commission has a legitimate interest in

knowing whether [Covington’s clients] made all required disclosures”). In other

words, simply because the clients sought legal advice from Covington, the

Commission wants to investigate them—and maybe even pursue enforcement. When

a “lawyer’s compliance” with a subpoena “may submit the client to an investigative

process at the hands of the United States,” then the lawyer’s compliance has come “at

quite a price.” United States v. Monnat, 853 F. Supp. 1301, 1304 (D. Kan. 1994).

             3.     The Commission’s View Has No Practical Value.

      The final reason for declining to hold that an administrative subpoena is a law

or court order is a practical one: it would not change lawyers’ ethical obligations but

may chill attorney behavior.

      Rule 1.6 requires that attorneys “not comply” with a disclosure request until

the lawyer has personally made “every reasonable effort to appeal the order or has

notified the client of the order and given the client the opportunity to challenge it.”

D.C. Bar, Rules of Professional Conduct, Rule 1.6, cmt. 28. After receiving an agency

subpoena, firms remain under “an ethical obligation to resist disclosure until either

the consent of the client is obtained or the firm has exhausted available avenues of

appeal with respect to the summons.” D.C. Bar, Ethics Op. No. 214. Given these

exhaust-all-avenues obligations, if this exact situation were to happen again

tomorrow, ethical rules would put the parties right back in court.

      The Commission would nevertheless gain an intimidation tool.            It is no

surprise that “[m]any persons have yielded [to an administrative subpoena] solely


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because of the air of authority with which the demand is made.” Okla. Press Publ’g

Co. v. Walling, 327 U.S. 186, 219 (1946) (Murphy, J. dissenting). A decision adopting

the Commission’s view—that a subpoena is independently sufficient to require

disclosure of protected information—could therefore allow the agency to intimidate

lawyers and, at a minimum, force them to litigate in the face of agency attempts to

force breaches of their ethical duties to their clients. The Court should not provide

the Commission any more leverage than it already has.

II.   THE COURT SHOULD NOT PERMIT THE COMMISSION TO
      INTRUDE  ON     CLIENT SECRETS OR  PROTECTED
      COMMUNICATIONS.

      A.     The Issued Subpoena Seeks Client Secrets and Protected
             Communications.

      The subpoena that the Commission sent to Covington sought names of

Covington clients and communications between Covington and those clients. See Ney

Decl, Ex. A, at 5-6. Both categories are protected.

             1.     Even Requesting Client Names Implicates Protected
                    Information.

      Although “privilege” is of course crucial, a “lawyer’s ethical duty to preserve a

client’s confidences and secrets is broader than the attorney-client privilege.” Adams

v. Franklin, 924 A.2d 993, 997 (D.C. 2007). Under Rule 1.6, secrets are defined

broadly to include “other information gained in the professional relationship that the

client has requested be held inviolate, or the disclosure of which would be

embarrassing, or would be likely to be detrimental, to the client.” Id. at 996.




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        The Commission demands the disclosure of nearly 300 clients’ identities, each

of which is protected as a secret (if not also a confidence). 5 “Disclosure of a client’s

identity falls within the scope of Rule 1.6(a)(1).” In re Hager, 812 A.2d 904, 920 (D.C.

2002); see also D.C. Bar, Ethics Op. No. 214 (protecting “the confidentiality of client

names”).     Particularly when the Commission has openly declared an intent to

investigate the clients, disclosure of their names would certainly be “embarrassing, or

would be likely to be detrimental, to the client.” See D.C. Bar, Ethics Op. No. 214 n.1

(listing a potential government prosecution as an example of what could “embarrass

or detrimentally affect” a client). Worse, the Commission has provided no basis for

fishing through the clients’ disclosures and subjecting them to the burden of an SEC

investigation. The only “reason” the Commission has articulated is the simple fact

that the clients were indirect victims in the hack of Covington’s systems; the

Commission nowhere suggests any suspicion that the clients were in any way at fault

for the cybersecurity breach, that the breach was material to them, or that any of

them failed to make required disclosures. Mem. 8, 10.

        The Commission’s attempted opportunistic intrusion into client secrets is

particularly unnerving for ACC and its members. As corporations, as clients of law

firms, or both, ACC’s members are often potential targets of cyberattacks and

cybercriminals.     Whatever broad latitude that the Commission has to fish in

investigations with no articulation of wrongdoing, that latitude should not extend to

conscripting the companies’ lawyers into the expedition.


5   See Covington Br. 19-20.



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             2.     Requesting Communications with Clients Implicates
                    Attorney-Client Privilege and Work Product.

      Rule 1.6(b) defines “confidence” as “information protected by the attorney-

client privilege under applicable law.” It is hard to overstate the importance of these

protections. In the Supreme Court’s words, “[t]here are few of the business relations

of life involving a higher trust and confidence than that of attorney and client … few

more anxiously guarded by the law, or governed by sterner principles of morality and

justice; and it is the duty of the court to administer them in a corresponding spirit,

and to be watchful and industrious, to see that confidence thus reposed shall not be

used to the detriment or prejudice of the rights of the party bestowing it.” Stockton

v. Ford, 52 U.S. 232, 247 (1850).

      The Commission’s original demand sought privileged communications between

Covington and its clients. Ney Decl, Ex. A, at 5-6; see Ney Decl, Ex. B, at 7-10

(Covington explaining how the request covered privileged information). Although the

Commission has strategically winnowed its original demands for court, there is no

reason to expect its intrusion into the attorney-client relationship to stop there. The

Commission says that it plans to investigate whether any of the client-victims failed

to disclose the attack in their public filings. Mem. 8, 10. To make that determination,

the Commission will likely need more protected information from the clients

regarding the nature and contents of their communications with their attorneys at

Covington.   See Covington Br. 10.     The Commission’s disclosure rules apply to

cybersecurity incidents that are material to publicly-traded companies—an inquiry

that is surely going to probe deeper into documents that are fully protected by the



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attorney-client privilege. How else could the Commission assess questions like, in its

words, “the importance of any compromised information and of the impact of the

incident on the company’s operations”? SEC Guidance, at 10-11. In short, the

Commission unquestionably views its subpoena power as extending beyond secrets

to privileged materials and confidences.

      B.     The Commission’s Proposed Intrusion Would Be Profoundly
             Harmful to ACC and Its Members

      The Commission offers no limiting principle on its ability to intrude into the

sacrosanct areas of attorney-client secrets and confidences. That is a serious red flag

to which the Court should be attuned in deciding the balance of interests.

             1.     The Implications for ACC and Its Members Are
                    Enormous.

      ACC’s members would feel the sting of a decision ruling for the Commission on

multiple fronts. Corporations rely on the trust and confidence of the attorney-client

relationship with their own lawyers and their outside lawyers. 6 In that way, in-house

counsel functions in essence as both lawyer and client—often at the same time. That

makes them doubly exposed to the Commission’s proposed degradation of attorney-

client confidences and secrets.

      Members in highly-regulated industries face the additional concern that the

Commission’s conduct here might “inspire” copycat subpoenas. The possibilities are


6Vincent S. Walkowiak, The Attorney-Client Privilege in Civil Litigation, Chapter 1:
An Overview of the Attorney-Client Privilege When the Client Is a Corporation 5
(Vincent S. Walkowiak & Oscar Rey Rodriguez eds., 7th ed. 2019) (“The free flow of
uncensored information between an attorney and client is as important within a
corporation as it is between the corporation and outside counsel.”).



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endless. Take an example close to this case—a corporation that is the victim of a

cyberattack. The attack is asserted to trigger SEC disclosure obligations, the extent

of which are not clearly settled. A corporate counsel would normally seek the opinion

of an outside attorney who specializes in SEC matters, but she decides to forgo

counseling on the matter because she fears that mere engagement with a known SEC

expert may subject her employer to SEC scrutiny—the Commission could subpoena

the expert’s client list. Or, if corporate counsel does engage with an outside attorney,

she may be reluctant to share all details of the attack for fear that outside counsel

will be forced to turn the corporation’s information over to the agency, which has

made clear that it does not view Rule 1.6 as an impediment to the grasp of its

administrative subpoenas, even with respect to privileged materials.

      Members may change their behavior prospectively too. The looming threat of

administrative subpoenas could lead to institutionalized practices that degrade the

quality of legal advice their corporate counsel can provide. For example, a corporation

may attempt to reduce its paper trail when consulting with its in-house counsel by

insisting that employees communicate information to counsel regarding regulated

events (like cyberbreaches) primarily by phone and without written records.

      None of this is how “one of the most sensitive and confidential relationships in

our society,” Glantz, 53 N.Y.2d at 556, is supposed to work.

             2.     The Commission Has Not Justified Its Proposed
                    Intrusion.

      The Commission purports to justify its subpoena based on the claims that

(1) “[t]he significance and importance of cybersecurity issues to the Commission’s



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mission has never been more apparent,” Mem. 5, and (2) the information can only be

procured through a subpoena, Mem. 8, 10. Both propositions fail.

      First, the Commission’s appeal to broad notions of cybersecurity cannot

support its far-reaching position. Again, the Commission is not directly investigating

any cybersecurity issue—it lacks authority to do that—and its interests are steps

removed from cybersecurity itself. The Commission wants to know whether SEC

registrants were the clients of a law firm that was the victim of a cybersecurity

incident. Although being the client of a victimized law firm is not a violation of

anything, the Commission’s interests are yet another step removed.              More

specifically, the Commission wants to know whether registrants (the clients)

complied with Commission rules concerning disclosure             of someone else’s

cybersecurity incident and, perhaps, whether Covington clients were additionally

victimized through illicit trading. Although cybersecurity issues may be important,

fishing expeditions to see if unknown companies may have been indirect victims of a

cybersecurity attack are far less so.

      Second, the Commission makes no actual showing to support its repeated

assertions that the information is “solely” in Covington’s possession and in “no way

… obtain[able] other than by Subpoena to Covington.” Mem. 8, 10. Particularly in

light of the interests at stake, the Commission could have—and should have—made

efforts to avoid or blunt its anticipated intrusion.

      For one thing, there are many alternatives that the Commission could have

pursued for the information. The Commission does not mention any of them, much




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less articulate whether and how it has pursued all other avenues without success. As

other agencies (like DOJ) understand, a subpoena to lawyers should be the last resort,

not the first. See Dep’t of Justice Manual § 9-13.410 (requiring “all reasonable

attempts” to obtain the information from “alternative sources” before subpoenaing

attorneys). The Commission’s proposed shortcut would make attorneys the first

resort, irrespective of the sensitivities inherent in the attorney-client privilege.

      For another thing, even if the Commission had pursued all options and come

up short, there were other ways to blunt the subpoena’s detrimental effects. What

makes a lawyer’s disclosure of client names most “likely to be detrimental” is the

Commission’s explicit desire to pursue agency investigation and enforcement against

those clients. But the Commission could eliminate or substantially decrease that

“detrimental” risk—and thereby mitigate at least some of the indignity to the

attorney-client relationship—by agreeing not to bring enforcement actions against

any of the named clients. That would leave the Commission free to pursue at least

the first two of its three identified objectives—namely, “us[ing] its investigatory tools

to identify any suspicious trading in those companies’ securities, and investigate

whether such trading was part of an illegal trading scheme based on MNPI viewed

or exfiltrated as part of the Cyberattack,” and “investigat[ing] whether illegal insider

trading occurred.” Mem. 8, 10; see also Mem. 3 (listing four reasons, three of which

would be readily met).

      Because the Commission has not even attempted to make any showing on

these points, it has not justified its professed need to come into court to enforce a




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“cybersecurity” subpoena directed at the outside lawyers who represent the clients

whom the Commission seeks to investigate.

             3.     The Court Should Find the Subpoena Unreasonable and
                    Unduly Burdensome.

      Courts must ensure that “subpoenas are not unduly burdensome or

unreasonably broad.” CFPB, 854 F.3d at 689 (cleaned up). That “burden” can extend

to “the harm that disclosure of client secrets will do to [lawyers’] ability to assure

clients of the secrecy of their communications.” Legal Servs. for N.Y.C., 249 F.3d at

1084. “[S]ubpoenas might be relevant but still unduly burdensome.” Id.

      Here, forcing Covington to serve up nearly three hundred of its clients for

investigation is a tremendous burden. For a law firm, handing over innocent clients

to a regulator for investigation is more than an unpleasantry; it undermines the

foundation of the firm’s entire enterprise. Law firms depend on their ability to garner

and maintain the trust of clients. The very last thing that a client would expect a law

firm to do with client secrets is turn them over to an adversary. Yet the Commission

ominously but candidly reports that it has “previously brought cases against . . .

companies that failed to disclose the material impact of cyberattacks to investors.”

Mem. 3.

       The burden to Covington’s clients is particularly “undue,” because the

Commission does not offer a hint of suspicion of wrongdoing. Not even the clients’

cybersecurity protocols are at issue because it was Covington’s system that suffered

the breach. Nevertheless, the Commission asks this Court to force Covington to hand

over its clients as a list of names from which the Commission can fish. See Mem. 3



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(noting that the Commission seeks its information to “determine relevant disclosure

obligations” of Covington’s clients).

      The Commission’s no-suspicion-necessary stance highlights the boundless

nature of its theory. If seeking counsel from a law firm that had a security breach

(over which no client had any control) is enough to put three hundred corporations in

the Commission’s investigatory crosshairs, ACC and its members are left to wonder:

who’s next?

                                   CONCLUSION

      The Court should deny the Commission’s application for an order compelling

compliance with the subpoena.

Dated: February 21, 2023                       Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

      I hereby certify that this brief complies with the requirements of Local Rule

7(o)(4) and Federal Rule of Appellate Procedure 29(a)(4), because it is less than 25

pages and uses 12-point Century Schoolbook font.




Dated: February 21, 2023                      /s/ Kwaku A. Akowuah
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                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing will be served this 21st day of

February, 2023, electronically through the Court’s CM/ECF system on all registered

counsel.


                                            /s/ Kwaku A. Akowuah
